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Case 1:03-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 1 of 23

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Spencer Y. Kook (205304)
BARGER & WOLEN LLP

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Los Angeles, California 90071
Telephone: (213) 680-2800
Facsimile: (213) 61,4-7399

Attorneys for Defendant
Connecticut Indemnity Company

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIF()RNIA

LION RAISINS, INC.,
P]aintiffs,
vs.
THE CONNECTICUT INDEMNITY
COMPANY, a subsidiary of ROYAL & SUN
ALLIANCE, AND DOES 1 through 10,

inclusive,

Defendants.

 

 

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CASE NO.: CW-F-03-6744

Discovery motions to be heard by
Hon. Dennis L. Beck, Chief U.S. Magistrate
Judge

DISCOVERY MATTER- DECLARATION
OF SPENCER Y. KOOK IN SUPPORT OF
DEFENDANT CONNECT]CUT
INDEMNITY COMPANY'S MOTION TO
COMPEL PLAINTIFF LION RAISINS,
INC. TO RESPOND T() DEFENDANT'S
FIRST SET ()F REQUESTS FOR
PRODUCTION AND PROVIDE
VERIFIED RESPONSES TO
DEFENDANT’S FIRST SET OF
INTERROGATORIES

[Filed concurrently with Notioe of Motion and
Motion to Compel]

Date: May ]3, 2005

Time: 9:00 a.m.

Ctrm: 5

Complaint Filed: Feb. 26, 2004

 

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Case 1:03-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 2 of 23
DECLARATION OF SPENCER Y. KOOK

l, Spencer Y. Kook, declare as follows:

l. I am an attorney duly licensed to practice law in the State of California and admitted
to practice in the United States District Court for the E»astern District of California. l am an
associate with the law firm of Barger & Wolen, LLP, and l am one of the attorneys with primary
responsibility for handling the above-captioned matter on behalf of Defendant Connecticut
lndemnity Company (“CIC”). All of the following facts are within my personal knowledge and, if
called as a witness, l would and could testify competently as to Such matters.

2. On October 29, 2004, l caused to be served by mail ClC’s First Set of Requests for
Producti on of Documents propounded upon Plaintiff Lion Raisins, lnc. (“Plaintiff”). A true and
correct copy of the Request for Production of Documents is attached hereto as EXhibit “A.”

3. On October 29, 2004, l also caused to be served by mail ClC’s First Set of
lnterrogatories propounded upon Plaintiff Lion Raisins, lnc. (“Plaintiff”). A true and correct copy
of the Interrogatories is attached hereto as Exhibit “B.”

4. lt was not until I filed a motion to compel responses to CIC’s First Set of Requests
for Production and lnterrogatories on December 28, 2004, that l received any response from
Plaintiff regarding responses to ClC’s discovery requests On or about January 28, 2005, l received
documents from Plaintiff that Were gathered in bundles and labeled with notes purportedly stating
the request to which the documents in each bundle was responsive However, Plaintiff has failed to
provide a signed, written response to ClC’s Requests for Production.

5. On February 15, 2005, l received, via facsimile, Plaintiff’ S responses to ClC’s
lnterrogatories. The responses did not include a sworn verification nom Plaintiff. A true and
correct copy of Plaintiff` s responses are attached hereto as EXhibit “C.”

6, Thereafter, on several occasions, I contacted counsel for Plaintiff via telephone and
informed him that l had not received written responses to ClC’s Requests for Production or a

verification to Plaintiff’ s responses to ClC’s interrogatories

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Case 1:03-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 3 of 23
1 7. On April ll, 2005 , l sent counsel for Plaintiff a letter via facsimile again reiterating
2 the fact that Plaintiff had failed to provide Written requests to ClC’s \equests for Prcduction or a
3 verification to Plaintiff’ s interrogatory responses The letter also stated that if l did not receive
4 those documents by Friday, April l5, CIC would file the present motion A true and correct copy of
5 that letter is attached hereto as Exhibit “D.”
6 8. As of the date of this declaration, l have not received Plaintiff’ s written responses to
7 the Requests for Production or a verification to its responses to ClC’s interrogatories
8 9. Ms. Katherine L. Nichols, an associate with this office, has spent approximately 4.7
9 hours conducting the research, drafting and revising ClC’s l\/Iotion to Compel Plaintiff Lion Raisins,
10 lnc. to Provide Responses to Defendant’s Requests for Production and Verified Responses to
11 Defendant’s Interrogatories (“Motion”) and accompanying declaration Her billing rate is 3190.()0
12 per hour.
13 9. l have spent approximately l.2 hours in reviewing and revising the Motion and
14 accompanying declaration My billing rate is 3260.00 per hour. l also anticipate spending at least
15 five hours in preparing for and attending the hearing on the l\/lotion. In addition, CIC will incur
16 approximately SZO0.00 in expenses for copying, filing and travel expenses in connection with this
1 7 l\/lotion.
18 lO. All told, l anticipate that ClC has incurred or will have incurred approximately
19 $2705.00 in attomeys’ fees and costs as a result of Plaintiff’ s failure to sufficiently respond to ClC’s
20 discovery requests
21 l declare under penalty of perjury under the laws of the United States that the foregoing is
22 true and correct. Executed this 15th day of April 2005, at Los Angeles, California.
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(21 31 680-2800

Case 1:03-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 4 of 23

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Attorneys for Defendant
THE CONNECTICUT lNDEMNITY COMPANY

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

LION RAISINS, INC.,
Plaintiff,
vs.
THE CONNECTICUT INDEMNITY
COMPANY, a subsidiary of ROYAL & SUN
ALLIANCE, AND DOES l through lO,

inclusive,

Defendants.

 

 

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CASE NO.: CIV-F-03 -6744

DEFENDANT CONNECTICUT
INDEMNlTY COMPANY'S REQUEST TG
PRODUCE DOCUl\/[ENTS, SET ONE, TO
PLAINTIFF LIONS RAISINS, lNC.

Complaint Filed: Feb. 26, 2004

Exhibit A, Page 4

 

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Case 1:03-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 5 of 23
Pursuant to Federal Rules of Civil Procedure Rule 34, Defendant Connecticut lndemnity

Company (“Defendant”) hereby requests Plaintiff Lion Rai,sins, lnc. (“Plaintiff’), by and through
their counsel, to produce the documents and things listed below.

For the purposes of this request, the terms below will have the following meanings:

“YOU” and “YOUR” shall mean the Plaintiff Lion Raisins, lnc.

““AMENDED COMPLAINT” as used herein shall mean or refer to YOUR FIRST
Amended Complaint for Breach of Contract, Negligence and Damages, dated February 26, 2004

“DEFENDANT” shall mean Connecticut lndemnity Company.

“DOCUMENT(S)” shall mean any documents business records, letters, memoranda,
notes, work papers, drafts, copies, inter-office and intra-office COMMUNICATIONS and
messages, drawings, graphic material, whether created or stored in written, printed, tangible,
electronic, mechanical, or electrical form of any kind, including materia1 en computer hard drives
tapes, disks, files, and other memories, backup copies and “deleted” files

“COMMUNICATIONS” shall mean all oral conversations discussions, letters,
telegrams, memoranda, e-mail, facsimile transmissions and any other transmission of information
in any form, both oral and written

“RELATE TO” shall mean refer to, mention, discuss, analyze, evidence, reflect,

document, support, or otherwise state or cite to.

REOUESTS FOR PRODUCTION
REOUEST FOR PRODUCTION NO. 1
All DOCUMENTS that RELATE TO the factual allegations in the COMPLAH\IT.

REQUEST FOR PRODUCTION NO. 2

All D()CUMENTS that RELATE TO any COMMUNICATIONS between YGU and
DEFENDANT.

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Case 1:03-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 6 of 23
REOUEST FOR PRODUCTION NO. 3

All DOCUMENTS that RELATE TO the sixteen (_16) claims that YOU contend were
“out of control” in paragraph 22 of the AMENDED COMPLAINT.

REOUEST FOR PRODUCTION NO. 4
All DOCUMENTS that RELATE TO all workers compensation claims that were handled
by DEFENDANT.

REQUEST FOR PRODUCTI()N NO. 5
All DOCUMENTS that RELATE TO YOUR contention, as Set forth in paragraph 22 of
the COMPLAINT, that “Defendant was not enforcing the laws and the procedures and its contract

Oblig~"tions with

REQUEST FOR PRODUCTlON NO. 6
All DOCUMENTS that RELATE TO YOUR allegations in paragraphs 23, 24, 25, and 26
of the AMENDED COMPLAINT concerning the handling and reporting of audits to the WCIRB.

REOUEST FOR PRODUCTION NO. 7
All DOCUMENTS that RELATE TO YOUR contention, as set forth in paragraph 26 of
the COMPLAINT, that “This conduct of Defendant also caused Plaintiffs X-rnod premium for 2003

to increase over $500,000.00.”

REOUEST FOR PRODUCTION NO. 8
All DOCUMENTS that RELATE TO YOUR contention, as set forth in paragraph 30 of
the COMPLAINT, that “Plaintiff performed all conditions, covenants and promises required on its

part to be performed in accordance with the terms and conditions of the written contract with the

Exhibit A, Page 6

 

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Case 1:03-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 7 of 23
REOUEST FOR PRODUCTION NO. 9

All DOCUMENTS that RELATE TO YOUR contention, as set forth in paragraphs 30,
33, 36 and 38 of the AMENDED COMPLAINT, that Plaintiff suffered damage ”in excess of one

million dollars.”

REOUEST FOR PRODUCTION NO. 10
All DOCUMENTS that RELATE TO the policy entered into on or about Jan. l, 2000
with DEFENDANT, as described in paragraph 10 of the AMENDED COMPLAINT.

REQUEST FOR PRODUCTION NO. 11
All DOCUMENTS that RELATE TO COMMUNICATIONS between YOU and Cibus
insurance Company that RELATE TO DEFENDANT.

REOUEST FOR PRODUCTION NO. 12
All DOCUMENTS that RELATE TO COMMUNICATIONS between YOU and Cibus
lnsurance Company that RELATE TO the policy entered into on or about Jani l, 2000 with

DEFENDANT, as described in paragraph 10 of the AMENDED COMPLAINT.

REOUEST FOR PRODUCTION NO. 13
All DOCUMENTS that RELATE TO COMMUNICATIONS between YOU and Cibus
Insurance Company that RELATE TO claims made under the policy entered into on or about Jan. l,

2000 with DEFENDANT, as described in paragraph 10 of the AMENDED COMPLAINT.
REOUEST FOR PRODUCTION NO. 14

All DOCUMENTS that RELATE claims made under the policy entered into on or about
Jan. 1, 2000 with DEFENDANT, as described in paragraph 10 of the AMENDED COMPLAINT.

Exhibit A, Page 7

 

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Case 1:03-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 8 of 23
REOUEST FOR PRODUCTION NO. 15

All DOCUMENTS that RELATE TO audit reports conceming YOU from the year 2000

to the present

REOUEST FOR PRODUCTION NO. 16
All DOCUMENTS that RELATE TO YOUR experience modification from the year
2000 to the present

Dated: October 29, 2004 BARGER & WOLEN LLP

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SPENCER Y. KOOK

Attorneys for Defendant

T he Connecticut lndemnity Company

By:

 

EXhibit A, Page 8

 

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Case 1:03-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 9 of 23

PR()OF OF SERVICE

Lion Raisins, Inc. v. Ro al & SunAlliance
Case No. CIV= =03=6744

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

lam employed in the County of Los Angeles, State of California. I_ am
over the a c of 1 and not a arty to the within aption; my business address is: _
lgB»(a(r)gqr & olen LLP, 633 est Fifth Street, 47 Floor, os Angeles, Califomia

On October 29, 2004, l served the fore oin document described as
DEFENDANT CONNECTICUT INDEMNI Y OMPANY’S VRE UEST TO
PRODUCE _DOCUMEN'I_`S, _SET_ ONE, TO PLAINTIFF LION RA SINS
lNC. on the interested parties in this action by placing a true copy thereof encfosed
in sealed envelope addressed as follows:

Brian C. Leighton, Esq. Counselfor Plaintijjf
Law Offices '

701 l_)ollas.lry

Clovis, CA 93612

[x] BY MAIL

[X]l am “read.ily familiar”_with the firm’s practice of collection and processin
correspondence for mailing Under that practice it would be deposited wit
U.S. Postal Service on th_at same day with postage thereon fully prepaid at
Los Angeles California in the ordinary course of business._ l am aware that
on motion of the party served, service is_ presumed invalid if posta e
cancellation date or postage meter date is more than one day after ate of
deposit for mailing in affidavit

[X] (FEDERAL) l declare that l am employed in the office of a member of
the bar of this Court at whose direction the service was made.
Executed at Los Angeles, C lifornia on October 29_ 2004;

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Exhibit A, Page 9

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BARGER & WOLEN LLP
833 W. FlFl'H ST.
FORTY-SEVENTH FLOOR
LOS ANGELES` CA 9007t
1213) 650-2800

 

Steven H. Weinstein (086724)
Spencer Y. Kook (205304)
BARGER & WOLEN LLP

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Los Angeles, California 90071
Telephone: (213) 680-2800
Facsimile: (213) 614-7 399

Attorneys for Defendant
THE CONNECTICUT INDEMNITY COMPANY

LION RAISINS, INC.,
Plaintiff,
vs.
'rHE CoNNECricUr n\inisi\n\iirvl
COMPANY, a subsidiary of ROYAL & SUN
ALLIANCE, AND DOES l through 10,

inclusive,

Defendants.

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Case 1:03-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 10 of 23

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALlFORNIA

CASE NO.: CIV-F-03-6744

DEFENDANT CONNECTICUT
INDEMNITY CGMPANY'S SPECIALL‘
PREPARED INTERROGATORIES, SET
ONE, TO PLAINTIFF

Complaint Filed: Feb. 26, 2004

EXhibit B, Page 10

 

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LOS ANGELEs CA 90071
1213) 680-2800

 

 

Case 1:03-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 11 of 23
INTERROGATORY NO. 4

State, with specificity, all facts on which YOU base YOUR contention, as set forth in
paragraph 22 of the AMENDED COMPLAINT, that DEFENDANT “was not enforcing the laws

and the procedures and its contract obligations with Plaintiff.”

INTERROGATORY NO. 5
lDENTlFY each person who has knowledge of the facts supporting your allegations in
paragraphs 23, 24, 25, and 26 of the AMENDED COMPLAINT concerning the handling and

reporting of audits to the WCRB.

INTE_RR()GATORY NO. 6

f .»,_

State, with specificity, all iact '

on which YOU base YOUR contention, as set forth in

paragraph 26 of the AMENDED COMPLAINT, that DEFENDANT’s conduct “caused Plaintiffs X-

mod premium for 2003 to increase over 8500,000.00.”

INTERROGATORY NO. 7
State, with specificity, all facts on which YOU base YOUR contention, as set forth in
paragraphs 30, 33, 36 and 38 of the AMENDED COMPLAINT, that Plaintiff suffered damage ”in

excess of one million dollars.”

INTERROGATORY NO. 8

l lDENTlFY each person who has knowledge of the facts supporting your allegations in
paragraphs 30, 33, 36 and 38 of the AMENDED COMPLAINT, that Plaintiff suffered damage ”in
excess of one million dollars.”
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EXhiblt B, Page 11

 

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BARGER & WOLEN LLp
633 w. FIFTH sr.
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LOS ANGELES, cA 90071
t213) 060¢2800

 

Dated: October 29, 2004

 

Case 1:O3-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 12 of 23

BARGER & WOLEN LLP

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By:

 

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SPEN ” ER . KOOK

Attorneys for Defendant

The Connecticut indemnity Company

Exhibit B, Page 12

 

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Case 1:O3-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 13 of 23

PROOF OF SERVICE

Lion Raisins, Inc. v. Ro al & SunAlliance
Case l\lo. ClV- 503,46741,41,

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

l am employed in the County of L_os_ Angeles, State of Califomia l_ am
over the a e of 1 and not a arty t_o the within aption; my business address is: _
§§(r)ger & olen LLP, 633 est Fifth Street, 47 Floor, os Angeles, Califomia

On October 29, 2004, l served the fore oin document described as
DEFENDANT CONNECTICUT INDEMNI Y OMPANY’S SPECIALLY
PREPARED lNTERROGATORIES_, SET ONE, TO PLAINTIFF on the
interested parties in this action by placing a true copy thereof enclosed in sealed
envelope addressed as follows:

Brian C. Leighton, Esq. Counselfor Plainti]j”

Law Offices
701 Pf\]] 901/\7

Ullbl.h]l\

Clovis, CA 93612

[x] BY MAIL

[X] l am “readily familiar”_with the firm’s practice of collection and processin
correspondence _for mailing Under that ractice it would be deposited wit
U.S. Postal Service on th_at same d_ay wit postage thereon fully prepaid at
Los Angeles Califomia in the ordinary course of business l am aware that
on motion of the party served, service is presumed invalid if posta e
cancellation date or.postage meter date is more than one day after ate of
deposit for mailing in affidavit

[X] (FEDERAL) l declare that l am employed in the office of a member of
the bar of this Court at whose direction the service was made.
Executed at Los Angelesj Califomia on October 29, 2004=~

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Exhibit B, Page 13

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Case 1:O3-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 14 of 23

BRIAN C. LEIGHTON, CA BAR # 090907
Attorney at Law

701 Pollasky Avenue

Clovis, Califomia 93612

Telephone: (559) 297-6190

Attorney for Plaintiff, LION RAIS]NS, INC.

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA AT FRESN 0

LION RAIS[NS, INC., CASE NO. CIV-F-O3~6744

PLAINTIFF’S RESPONSE 'TO
DEFENDANT’S SPECIALLY
PREPARED INTERROGATORIES,
SET NO. ONE

Plaintiff,
v.
THE CONNECTICUT ]NDEMNITY
COMPANY, a subsidiary of

ROYAL & SUN ALLIANCE, AND

Complaint Filed: February 26, 2004
DOES 1 through 10, inclusive,

Defendants.

 

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Pursuant to Federal Rules of Civil Procedure, Rule 33, Plaintiff, Lion Raisins, lnc. (hereinafter
“Plaintiff’) by and through its counsel, hereby responds to Defendant’s, The Connecticut indemnity
Company’s, specially prepared interrogatories as follows:

INTERROGATORY NO. 1

ldentify the sixteen (16) cases that YOU “considered out of control” as alleged in paragraph 22
of YOUR AMENDED COl\/IPLAINT. (For purposes of this interrogatory, “Identify” shall mean to state
the claim number and the individual at issue in that claim.)

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PLA!NTIFF’S RESPONSE TO DEFENDAN'I"S SPEClALLY
PREPARED lNTERROGA'!`ORlES, SET NO. ONE

EXhiblt C, Page 14

 

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Case 1:O3-cV-06744-OWW-DLB Document 38 Filed 04/15/05 Page 15 of 23

RESPONSE T 0 INTERROGATORY N(). 1

Plaintiff has identified the sixteen (16) cases that Lion has “considered out of control” as alleged
in paragraph 22 of Lion’ s Amended Complaint by providing said documents in response to Defendant’ s
Request for Production of Documents.

INTERR()GATORY NO. 2

State, with specificity, all facts on which YOU base YOUR contention, as set forth in paragraph
22 of the AMENDED COMPLAINT, that sixteen (16) claims were “out of control.”

RESPONSE TO INTERROGATORY NO. 2

Case No. 1: Arturo Delatore ~ Non-specific soft tissue strain (exacerbation of previous injury
from 9/23/99). Employee was still being treated for, and was on moderate duty for previous injury.
Case was disputed by Plaintiff but was accepted with no apportionment to previous open claim from
1999. This employee has never been scheduled for a qualified medical examiner (QME) nor referred
to an agreed medical examiner (AME) for ruling of injuries Defendant accepted the claim and allowed
it without management of the case to remain open and active.

Case No. 2: Eddie Bragas - Head injury during the policy year 1/1/00-1/1/01. Bragas was
hospitalized lie was released to the care of his mother in the Spring of 2001 . Case was not objected
to by Defendant at any time. Subsequently Bragas was witnessed performing multiple physical activities
outside of his stated disabilities and restrictions His vocational rehabilitation was as a locksmith and
Bragas claimed severe vertigo so he could not drive. He has since been observed driving, riding a bike,
doing mechanical work and playing soccer. Cambrige knows about this but the initial suspicion and
request was made in luly of 2001.

Case No. 32 l\/lacario Armenta - Spinal injury to the sacral region (tail bone). lnitial doctor
report verified injury to tail bone and the employee was released to moderate duty. On 10/24/00 Fresno
Iniaging verified that (1) there was an injury to the LS-Sl spine but that this was degenerative in nature;
(2) did not mention or image any part of the cervical spine. On 10/26/00 Dr. Ahrned noted a shoulder

impingement and disc herniation at C3-4. This was not mentioned in the first report of injury nor

 

PLA!NTIFF’S RESPONSE TO DEFENDANT’S SPEC[_¢\LLY
PREPARFZD INTERROGAT()RKES, SET NO. ONE

EXhibit C, Page 15

 

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subsequent doctor’ s visits Due to this alone the case should have been referred to an attorney and QME
or AME should have been pursued. Neither were suggested by Defendant until November of 2001.

Case No. 4: Alberto Cortez - Cortez was punched after physically assaulting another employee
His injury of a fractured nose was repaired and he was to return to full duty on l\/Iay 31, 2000 but never
returned Subsequently he received two surgeries to clear up issues regarding through his nose and the
slight scarring left. Defendant’ s failure to obtain medical records verifying that l\/lr. Cortez suffered from
severe allergies led to these surgeries

Case No. 5 : l\/lary Duran ~ Slip and fall. Diagnosed with shoulder impingement and
degenerative disc at C4, 5 & 6. However upon further diagnosis at Woodward Park Radiology it was
discovered that she suffered from advanced degeneration from her cervical spine through her lumbar
spine area Upon discovery of this scan, medical records should have been requested to verify pre-
existence of problem. They were not, nor was a QME or AME pursued in the interest of settlement.

Case No. 6: Frank Garcia ~ Employee slipped off a ladder. Diagnosis indicated that the rib
contusion is noted and verified, but that the shoulder/neck injury is noted as self limited and when the
patient is distracted his range of motion improves significantly Further the patient tested positive for
cocaine and methamphetamine This case should have been requested to a QME or AME and assigned
to counsel immediately as the positive drug test disqualifies an applicant from pursuing the injury.

Case No. 7: Hesiquio Gomes - Miniscus tear - injured on l\/larch of 2000; surgery to repair
miniscus by Dr. Castonguay in August of 2000. Full repair by aithoscopic surgery and there was no
denotation of other ligainent tendon tears and full recovery expected Subsequently he was treated for
pre-existing diabetes and heart issues unrelated to the tear and was sche ule for a full knee replacement
by Dr. Castonguay, even after Dr. Castonguay noted in his post-op report that no further treatment
(surgeries) were needed

Case No. 8: Trinidad Huerta - Foot, leg and back. Employee claimed a foot/leg sprain.
Doctor’s_ initial report noted hypersensitivity in his back and a self regulated pain threshold lt is noted

by the AME from 9/01 of a pre-existing degeneration disc condition Prior to the 9/01 Al\/IE no attempts

 

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Exhibit C, Page 16

 

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at obtaining medical records for AME/QME reports were done. Also, credible information was obtained
suggesting the employee was lying. Defendant declined to investigate but Lion retained a Pl and
obtained video of the employee running, jumping, lifting, squatting and other various issues that he was
said not to be able to do. Lion notified Jackie Koch, employed by the Defendant, which is noted in the
file. The case is set to be referred to the DA Fraud Unit.

Case No. 9: Ben Gomez ~ Two doctors, four chiropractors, three attorneys neurological
conduction tests, numerous l\/[Rl’s and X-Rays and a neurologist During this case paperwork was not
received by the applicant, paperwork was not sent by Defendant At one point Gomez was being seen
by Plaintif`f’ s doctor and Dr. Arkel`ian with opposite findings Gomez had well documented pre-existing
conditions caused by a previous surgery (that he filed a malpractice suit for) and an auto accident None
of that was requested by Defendant until well into 2001, after pressure from Plaintif`f. No less than four
claim specialists worked on this case. The designated treating physician was Dr. Arkelian, but after that
designation Gomez saw and gained various restrictions and opinions from three other doctors between
January of 2001 and 2002. Gomez was stated to be permanent and stationary on April of 2001 , but his
restriction and condition continued to change and be modified depending on the doctor he saw.

Case No. 10: Ruben l_,eyva ~ Non-specific lower back strain. There is no indication that the
employee designated a treating physician, however because he was notified of his layoff from Plaintiff
prior to reporting the injury he left Lion without seeking medical attention by Lion’ s own doctor This,
in and of itself is cause to delay the case and/or request immediate QME. The employee complained of
lower back injuries, but the only l\/lRl done was of his neck. The permanent disability rates were
between 18.2% and 5%, and at this percentage the applicant would not be eligible for vocational
rehabilitation, but instead it was offered by Defendant

Case No. 11: Andreas l\/lartinez - Broken arm. Mr. l\/lartinez first reported that he had fallen
off a trailer but he subsequently reported that he hit his elbow while reaching for a box and the box fell
on him. He was released to full duty on 1/25/01 but was rated at 17% disability on 11/17/02 over 18

months later.

 

PLA[N'I`IFF’S RESI’ONSE T() DEF`ENI)ANT’S SPECIALLY
PREPARED INTERROGATORIES, SET NO. ()NE

Exhibit C, Page 17

 

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Case No. 12: Procopio Venegas - Back strain. 67 year old farm laborer from the age of 16.
Diagnosed with compression of lumbar vertebra 5 and sacral vertebra 1, but previous records show
severe spinal degeneration and arthritis Employee was laid off in September of 2000 but reported the
injury in January of 2001, T here is even evidence to suggest that he was not even working during the
time of the alleged injury. Defendant did nothing about this

Case No. 13: Isom Bailes - A claim was signed on September of 2001, but the employee stated
the injury occurred in l\/larch of 2000. Nothing was done by Defendant

Case No. 14: Fermin Mendez - Employee purportedly fell into 160 degree water. On May 18,
2001 the employee saw his doctor for the last time. The doctor did not state the disability of his patient
and in fact nobody bothered to follow up to discover his status until the fall of 2001.

Case No. 15 : ignacio Rodriguez - Abrasions and strain to the ulnar cruciate ligament..
Employee had surgery on 9/28/01, ten months after the injury. Permanent and stationery was not
established until March of 2003. No QME or Al\/IE was suggested during this time.

Case No. 16: Gilbert Garcia - Non~specific back-injury of June of 2000. The first notification
of acceptance was July of 2000. No other correspondence from Defendant is noted until 2001.
Defendant did not pursue or monitor the treatment of the employee Defendant was advised that
employer was disputing the injury due to witness report.

INTERROGAT()RY NO; 3

IDENTIFY each person who has knowledge of the facts supporting your contention in paragraph
22 of the AMENDED COMPLAINT that sixteen (16) claims were “out of control.” (For purposes of
these lnterrogatories, the tem “lDENTlFY,” when used in reference to a person, means to state (1) the
personis name; (2) the person’s last known residential address and telephone number; (3) the person"s
last known business address and telephone number; and 94) the name for the company and entity for
whom the person is currently employed or was last employed.)

RESP()NSE TO INTERR()GATORY N(). 3

(* to the left of name indicates a Royal & Sun Alliance employee)

 

PLAINTIFF’S RESPONSE TO DEFENDANT’S SPEClALLY
PREPARED INTERROGAT()RIES, SET N(). ONE

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1. Sean Dunn, (559) 499-1014, 546 N. Ferger Ave., Fresno, CA 93728

2. lane Woodcock, 725 Pollasky Ave #l ll, Clovis, CA 93612, (559) 323-2560

*3. Jennifer Schaffer, RSA Walnut Creek office (800) 523-6269, l 600 Rivira Ave, P.O. Box
8166, Walnut Creek, CA 94596-8166

*4. Jackie Koch, RSA Walnut Creek office - (see above)

5. Muslim Wahab, Hanna Brophy, P.O. Box 26840 (93729-6840) (559) 435-9823

6. Gitta Merril, Hanna Brophy, P.O. Box 26840 (93729-6840) (559) 435-9823

7. Jcnnifr Taggard - unknown

*8. Karen Ward - RSA Walnut Creek office (see above)

9. Michal Robinette, MD, Jobcare, 1142 Rose Ave, Selma, CA 93662 (559) 891-8940

*10. Mercedes Mcl\/lichael - RSA Walnut Creek office

11. Shelli Wing-Small, Cambi ge lntgiated Lewis, P.O. Box 15901, Sacramento, CA 95852
(916) 638-8300

12. leff Keena, Cambige lntgiated Lewis, P.O. Box 15901, Sacramento, CA 95852 (916)
638-8300

*13. Addie Weisburg, RSA Walnut Creek Office

*14. Charlotte Dossa, RSA Walnut Creek Office

*15. Julie Waters, \SA Walnut Creek Office

*16. David Henderson, RSA Walnut Creek Office

17. Brian O’Farrell, Walter Clark & Assoc., Fresno, CA (559) 222-0300

*18. Maria DaSilva, RSA Walnut Creek Office

*19. Christine Olaguer7 RSA Walnut Creek Office

20. All doctors referenced in the 16 employees medical records described in #2 above

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Pl.AlNTIFF’S RESPONSE TO DEFENDANT’S SPEC[ALLY
PREPARED INTF.RROGATORlES, SET NO. ONE

Exhibit C, Page 19

 

 

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INTERR()GATORY NO. 4

State, with specificity, all facts on which YOU base YOUR contention, as set forth in paragraph
22 of the AMENDED COMPLAlNT, that DEFENDANT “was not enforcing the laws and procedures
and its contract obligations with Plaintiff`.”
RESP()NSE TO INTERROGATORY NO. 4

Connecticut lndemnity policy, page 1, column 2, section C', page 3, column l, section C,
paragraphs 2 & 7; page 3, column 2, section D; page 3, column 2, section E, paragraph l and page 4,
column l, section F. hi addition, there could be other policy provisions at issue for which P,laintiff has
not yet rendered an opinion, and when Plaintiff does, it will update the answer to this interrogatory
INTERR()GAT()RY NO. 5

lDENTlFY each person who has knowledge of the facts supporting your allegations in
paragraphs 23, 24, 25 and 26 of the AMENDED COMPLAINT concerning the handling and reporting
of audits to the WClRB.
RESPONSE TO INTERROGATORY NO. 5

Sean Dunn, Brian O’Farrell and Susan Keller and any WCIRB officials who worked on the
matters
INTERR()GATORY N(). 6

State, with specificity, all facts on which YOU base YOUR contention, as set forth in paragraph
26 of the AMENDED COMPLAINT, that DEFENDANT’ s conduct “caused Plaintiffs X-mod premium
for 2003 to increase over 8500,000.00.”
RESPONSE T(_} lNTERR()GA'l`()RY NG. 6

 

The WCIRB report provided to Walter Clark & Associates as well as Plaintiff. The experience
modification (MOD) was raised from 140% to 185 % as well as a revision to 2002 from 140% to 167%.
Based on the base premium for 2002 and 2003 the experience modification rate of 67% of total base

premium plus another 67% is what Plaiiitiff paid in premium, and 85% of total premium exceeds

$500,000.00.

 

PLAINTIFF'S RESPONSE 'I`O DEFENDAN'I"S SPECIALLY
PREPARED INTERROGATORIES, SET NG. ONE

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INTERROGATORY N(). 7

State, with specificity, all facts on which YOU base YOUR contention, as set forth in paragraphs
30, 33, 36 and 38 of the Al\/IENDED COMPLAINT, that Plaintiff suffered damage “in excess of one
million dollars.”
RESPONSE TO INTERR()GATORY NO. 7

Plaintiff’ s renewal premium in 2001 at 8464,509.00 at 140% MOD; Plaintiff’ s renewal premium
in 2002 at 8730,095.00 at 168% l\/lOD which is 28% higher than 2001; Plaintiff’s renewal premium in
2003 at 8680,131.32 at 158% l\/lOD (18% higher than 2001); and Lion’s renewal premium in 2004 at
$1,274,000.00 at 185% MOD (45% higher than 2001). The total MC»D premium paid that should not
have been incurred by Lion but for Defendants’ negligence since 2002 equals 8902,150.00. Since the
mismanagement of these claims raised the l\/lOD in excess of normal, it can be calculated that the MOD
were 10% to 30% higher than an average year, and that Plaintiffs loss ratio was between 96% to 25%
and would have significantly lowered the MOD down to the 110-130% range by 2003-2004 This adds
another $200,000.00-$500,000.00 in MOD payments that would not have been incurred by Plaintiff if
Defendant had handled the claims not negligently
lN`TERR()GATO`RY N(). 8

IDENTIFY each person who has knowledge of the facts supporting your allegations in
paragraphs 30, 33, 36 and 38 of the AMENDED COMPLAlNT, the Plaintiff suffered damage “in excess
of one million dollars.”
RESPONSE TO INTERROGATORY N(). 8

Brian G’Farrell, Seaii Dunn and Susan Keller and any and all WCIRB officials who worked on
the matter.

DATED: February _l_i, 2005 Resp tfu ly submitted, `

N C. LEIGHTON, attorjiey
laintiff Lion Raisins, lnc.

 
 
 
         

fo
VERIFICATI()N TO FOLLOW

 

PLAlN'l`lFF’S RESPONSE TO DEFENDANT’S SPEC!ALLY
PREl-‘ARED lN'l`ERROGATORIES, SET NG. ONE

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PR()OF OF SERVICE
l declare that:

l am employed in the County of Fresno, Califomia

l am over the age of eighteen years and not a party to the within action; my business
address is 701 Pollasky, Clovis, Califomia 93612.

On February 15, 2005 , l served a copy of the attached PLAINTIFF’S RESPONSE TO
DEFENDANT’S SPECIALLY PREPARED INTERR()GAT()RIES, SET NO. ONE on the
interested parties herein by placing a true copy thereof in a sealed envelope with postage thereon
fully prepaid in the United States mail at Clovis, California, addressed as follows:

Steven H. Weinstein
Spencer Y. Kook
BARGER & WOLEN LLP
633 W. Fifth Street, 47lh Floor
Los Angeles, CA 90071
l declare under penalty of perjury of the State of Califomia that the -oregoing is true and

correct and that this Declaration was executed this 15th day of February, 2005 , at Clovis,

Califomia l declare that l am employed in the office of a member of the Bar of this Court at

QlM`f/Mie

Wendy Fimbres

whose direction this service was made.

 

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ARGER 8c WOLEN is
633 West Fifth Street
Forty-Seventh Floor
Los Angeles, Califomia 90071-2043 P vi
iieiephone; (213) 630-2300 OY§§H§;;§R:
skook@barwol.com FaCSimilei (213) 614-7399 9937.023

SPENCER Y. Koox

Aprti ii, 2005

VIA FEDERAL EXPRESS

Biian C. Leighton, Esq.
Law Offices

701 Pollasky Avenue
Clovis, CA 93612

Re: Lion Raisins, Inc. v. Connecticut[ndemnity Company
Dear l\/lr. Leighton:

As you know, 1 have made repeated requests for Plaintiff to provide written responses
to Connecticut indemnity Company’s (“CIC”) requests for production and a verification of its
responses to ClC’s interrogatories Please consider this letter a final request

Specifically, CIC is entitled to formal written responses to its document requests to
confirm what Plaintiff has and has not produced Fed. R. Civ. Proc. 34(b). Likewise, ClC is
entitled to sworn responses to its interrogatories Fed. R. Civ. Proc. 33(b)(1).

Given the good professional relations we have had throughout this matter, lbelieve
that a motion to compel can be avoided. However, the trial date in this action is rapidly
approaching and your client’s continued delay in providing these responses is unacceptable

lf we do not receive written responses to ClC’s document requests and verification by
noon this Friday, April 15 , CIC will file a motion to compel those responses (Please note: Your
client’s document production was not bates-stamped Enclosed with this letter is a CD-ROl\/l of
Plaiiitiff’ s production, which we have bates stamped (Bates nos LR 000001 - LR 03345), by
which you can confirm your client’s production.)

Very truly ours,

 

SYK:kln
cc: Steven l~l, Weinstein, Esq.

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Exhibit D, Page 23

